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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


BRADLEY J. SCHAUFENBUEL, et
al.,

                      Plaintiffs,                      Case No. 09 C 1221

           v.                                   Hon. Harry D. Leinenweber

InvestForClosures FINANCIAL,
L.L.C., et al.,

                      Defendants.


                      MEMORANDUM OPINION AND ORDER

      Before the Court are three Motions to Dismiss:                A Motion to

Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2) for

lack of personal jurisdiction filed by Defendant Darcey L. Martin,

a Joint Motion to Dismiss pursuant to Federal Rule of Civil

Procedure 12(b)(6) filed by Defendants Martin, Deana M. Guidi, and

Tom   Rodriguez,    and   a   Joint    Motion     to    Dismiss     pursuant    to

Rule 12(b)(6) filed by Defendants InvestForClosures Financial,

L.L.C., InvestForClosures.com LLC, InvestForClosures Ventures, LLC

(collectively, the “IFC Entities”), and Francis Sanchez.                       Also

pending is a Motion to Strike filed by Plaintiffs.                      For the

following reasons, Defendant Martin’s Rule 12(b)(2) Motion to

Dismiss   is    denied;   Defendants    Martin,    Guidi,     and   Rodriguez’s

Rule 12(b)(6) Motion to Dismiss is granted; and the Rule 12(b)(6)

Motion to Dismiss of Defendant Sanchez and the IFC Entities’ is
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granted in part and denied in part; and Plaintiffs’ Motion to

Strike is granted.

                               I.    BACKGROUND

     This action stems from Plaintiffs’ investments in various

“InvestForClosures” entities which, they claim, Defendants procured

by fraudulent means and then refused to repay.              Defendants include

four entities whose names all include the term “InvestForClosures,”

including the IFC Entities, and several individuals who, Plaintiffs

claim, control or are affiliated with the IFC Entities. Plaintiffs

bring seventeen claims, on behalf of themselves and all others

similarly situated, for violations of the Securities Act of 1933

(Count 1) and the Securities Exchange Act of 1934 (Count 2), fraud

(Count 3), breach of fiduciary duty (Count 4), civil conspiracy

(Count 5), violation of the Illinois Uniform Fraudulent Transfer

Act (Count 6), unjust enrichment (Count 7), constructive trust

(Count 8), violation of the Illinois Consumer Fraud Act (Count 9),

piercing the organizational veil (Count 10), conversion (Count 11),

violation of the Illinois Securities Law (Count 12), breach of

contract (Count 13), violation of the Investment Advisers Act of

1940 (Count 14), violation of the Trust Indenture Act (Count 15),

civil   RICO    violation   (Count    16),    and     violation   of   the   Money

Laundering Act (Count 17).

     All   of    Plaintiffs’     claims      relate    to   the   same   alleged

fraudulent scheme whereby Defendants induced Plaintiffs to purchase


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unregistered    high-interest       debt   securities        from    IFC   Entities.

According to Plaintiffs, Defendants fraudulently told them that

their    investment    money     would    be    used   to    refurbish     and    sell

distressed properties, which never happened, and to develop a

resort in Mexico, which never existed.             Further, Plaintiffs claim,

Defendants would use the funds obtained from later investors to pay

off earlier investors and, as a result, most investors, including

Plaintiffs, never received any payment at all.                     Plaintiffs claim

that Defendants have retained over $8 million of their investment

money.

      The Complaint originally named thirty-two separate defendants

and   thirty   “John     Does”    but    Plaintiffs         have    dismissed     some

defendants voluntarily as of April 27, 2009, the date they filed

the most recent Complaint.          Seven defendants, including Martin,

Guidi, Rodriguez, Sanchez, and the IFC Entities have moved to

dismiss the Complaint in its entirety.                  The IFC Entities are

separate entities which, Plaintiffs claim, received or solicited

investment money.      Allegedly, Defendant Martin acted as a liaison

between the IFC Entities and the investors and Defendant Guidi was

General Counsel of the IFC Entities and interacted with investors.

The   Complaint   also    alleges    that       Defendant     Rodriguez     was    the

accountant for the IFC Entities and transferred IFC funds to

Defendant Sanchez, who was the Chief Executive Officer of the IFC

Entities and the mastermind of the fraud.


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                              II.     DISCUSSION

        A.    Defendant Darcey L. Martin’s Rule 12(b)(2) Motion

       Defendant Martin moves to dismiss the Complaint on the grounds

that    the   Court’s   exercise     of   personal   jurisdiction     over   her

violates the Fifth Amendment’s due process clause because she is a

Florida resident and has insufficient contacts with Illinois.

However, Plaintiffs bring Count 2 of the Complaint pursuant to the

Securities Exchange Act of 1934 which provides:

       Any criminal proceeding may be brought in the district
       wherein any act or transaction constituting the violation
       occurred. Any suit or action to enforce any liability or
       duty created by this chapter . . . may be brought in any
       such district . . . and process in such cases may be
       served in any other district of which the defendant is an
       inhabitant or wherever the defendant may be found.

15 U.S.C. § 78aa.

       Because   the    Securities    Exchange     Act   expressly   authorizes

nationwide service of process, the Court’s jurisdictional due

process inquiry turns on defendant’s contacts with the United

States as a whole, rather than with the state in which the court

sits.    See Lisak v. Mercantile Bancorp, Inc., 834 F.2d 668, 671-72

(7th Cir., 1987).         That is because where a statute authorizes

nationwide service of process and a defendant resides within the

territorial      boundaries   of    the   United   States   the   government’s

exercise of power over them in any of its courts is justified.

Fitzsimmons v. Barton, 589 F.2d 330, 333-34 (7th Cir., 1979)

(holding that in action brought under Securities Exchange Act


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sufficient contacts between defendant and the United States must

exist, but contacts with the specific forum are unnecessary); see

also Board of Trustees, Sheet Metal Workers’ Nat. Pension Fund v.

Elite Erectors, Inc., 212 F.3d 1031, 1035-36 (7th Cir., 2000);

Diamond Mortg. Corp. of Illinois v. Sugar, 913 F.2d 1233, 1244 (7th

Cir., 1990).       The Seventh Circuit has held that the nationwide

service     of   process   provision     in    the   Securities   Exchange   Act

comports with due process, Fitzsimmons, 589 F.2d at 333-34, and the

Court is bound by the Seventh Circuit’s ruling.                   Thus, because

Martin resides in the United States, the Court’s exercise of

personal jurisdiction over her in this case is proper and her

Motion to Dismiss pursuant to Rule 12(b)(2) is denied.

                  B.   Defendants’ Rule 12(b)(6) Motions

                           1.    Standard of Review

     It is undisputed that Rule 9(b)’s heightened pleading standard

applies to at least some of Plaintiffs’ claims but the parties

dispute which ones.             Under Rule 9(b), “In alleging fraud or

mistake, a party must state with particularity the circumstances

constituting fraud or mistake.”                The parties disagree on the

meaning of the term “alleging fraud” with respect to each of

Plaintiffs’ claims.        Plaintiffs concede that Rule 9(b) applies to

Count   1   (violation     of    the   Securities    Act   of   1933),   Count    2

(violation of the Securities Exchange Act of 1934), Count 3 (common

law fraud), Count 6 (violation of Illinois UFTA), and Count 16


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(civil RICO).       Defendants argue that Count 4 (breach of fiduciary

duty), Count 5 (civil conspiracy), Count 7 (unjust enrichment),

Count 8 (constructive trust), Count 9 (violation of Illinois

Consumer Fraud Act), Count 10 (piercing the legal entity), Count 11

(conversion), Count 12 (violation of Illinois Securities Law),

Count 14 (violation of the Investment Advisers Act of 1940),

Count 15 (violation of the Trust Indenture Act of 1939), and

Count 17 (violation of the Money Laundering Act of 1939) are also

subject to Rule 9(b)’s heightened pleading standard because these

claims are based upon underlying fraud.               Thus, it is Defendants’

position that only Count 13 (breach of contract) is not subject to

Rule 9(b)’s heightened pleading standard.

     The law in this Circuit is well-settled that the applicability

of Rule 9(b)’s heightened pleading standard turns not on the title

of the claim but on the underlying facts alleged in the complaint.

Borsellino v. Goldman Sachs Group, Inc., 477 F.3d 502 (7th Cir.,

2007).    Where a claim, whatever its title, “sounds in fraud,”

meaning   it   is    premised   upon    a   course    of   fraudulent   conduct,

Rule 9(b) may be implicated.                Id.      Here, the Complaint and

Plaintiffs’ briefs in response to the pending motions to dismiss

are riddled with references to the fraudulent scheme in which they

allege Defendants participated.             It is this alleged fraudulent

scheme that underlies the entire Complaint.                Counts 1-12, 14, 16,




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and 17 all rest solely upon the alleged fraud and therefore are

subject to Rule 9(b).

     Rule 9(b) requires a party to “state with particularity the

circumstances constituting fraud or mistake.” Courts interpret the

“circumstances” reference in Rule 9(b) to require plaintiff to

plead the identity of the person who made the misrepresentation,

the time, place and content of the misrepresentation, and the

method by which the misrepresentation was communicated to the

plaintiff.   See Windy City Metal Fabricators & Supply, Inc. v. CIT

Technical Financing Services, Inc., 536 F.3d 663, 669 (7th Cir.,

2008); Ackerman v. Northwestern Mut. Life Ins. Co., 172 F.3d 467,

469 (7th Cir., 1999) (Rule 9(b) requires the complaint to set forth

“the who, what, where, and when of the alleged fraud”); Vicom, Inc.

v. Harbridge Merchant Services, Inc., 20 F.3d 771, 777 (7th Cir.,

1994).    The purpose of this rule is “to force the plaintiff to do

more than the usual investigation before filing his complaint”

because   “public    charges    of   fraud   can   do   great     harm   to   the

reputation of a business firm or other enterprise (or individual).”

Ackerman, 172 F.3d at 469.

     The remaining Counts 13, for breach of contract, and 15, for

a violation of the Trust Indenture Act, exist independent of the

alleged    fraudulent     scheme     and,    therefore,     are    subject     to

Rule 8(a)’s more lenient notice pleading standard.                However, even

under Rule 8(a), “a complaint must contain sufficient factual


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matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’”        Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949

(2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)).       “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.”

Iqbal, 129 S.Ct. at 1949.          A complaint need not set forth all of

the relevant facts but it must describe the claim with sufficient

detail so as to provide the defendants with fair notice of what the

claim is and the grounds upon which it rests.                  See FED . R. CIV .

P. 8(a); E.E.O.C. v. Concentra Health Services, Inc., 496 F.3d 773,

776 (7th Cir., 2007).       The Court accepts as true all well-pleaded

facts alleged in the complaint and draws all reasonable inferences

in a light favorable to the plaintiff.              See Twombly, 550 U.S. at

555-56.        However,   the   Court   need    not   accept    as   true   legal

conclusions, and “[t]hreadbare recitals of the elements of a cause

of action, supported by mere conclusory statements do not suffice.”

Iqbal, 129 S.Ct. at 1949.

    2.    The Sufficiency of the Complaint’s Fraud-Based Claims

     The Court will first examine the fraud claim found in Count 3

of the Complaint because the viability of most of Plaintiffs’

claims turns on the sufficiency of their fraud claim.                  In other

words,    if   Plaintiffs   have    failed     to   plead   fraud    adequately,

Counts 1-12, 14, 16, and 17 also fail because all of these claims


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are based upon the same underlying fraud alleged in Count 3.                 See

Borsellino, 477 F.3d at 507-08; National Council on Compensation

Ins., Inc. v. American Intern. Group, Inc., No. 07-2898, 2009 WL

466802 (N.D.Ill., Feb. 23, 2009); McKee v. Pope Ballard Shepard &

Fowle, Ltd., 604 F.Supp. 927 (N.D.Ill., 1985).

       For example, Plaintiffs’ securities claims (Counts 1 and 2)

rest   upon   the    allegation   that   “[t]he    IFC   entities     took   the

accumulated investments and concealed the money in Mexico while

falsely representing to investors that the IFC entities were

actively engaged in developing the Sands of Gold Estates in Playa

Ventura, Mexico.” (Compl. ¶ 154.) Plaintiffs’ breach of fiduciary

duty claim (Count 4) relies on the allegation that “the IFC

principals breached their fiduciary duties to Plaintiffs by failing

to invest Plaintiffs’ money as represented but instead transferring

it to and concealing it in Mexico with no intent on returning

Plaintiffs’ investments or paying the interest or return on such

investments.”       (Compl. ¶ 197.)    Plaintiffs’ civil conspiracy claim

(Count 5) relies upon the allegation that “[t]he IFC principals

sought investments from Plaintiffs by falsifying the purpose of the

investments so that they could unlawfully conceal the money in

Mexico shielded from the claims of Plaintiffs for the return on

their investments.”        (Compl. ¶ 201.)        These allegations, which

appear consistently throughout Counts 1-12, 14, 16 and 17, refer to

the same alleged fraudulent scheme that forms the basis of Count 3.


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Accordingly, Plaintiffs must plead fraud sufficiently in order for

Counts 1-12, 14, 16 and 17 to survive.

     Under applicable Illinois law, a plaintiff must allege the

following elements to state a claim for fraud:

     (1)     a representation       of    a   material        fact    by
             defendant,

     (2)     the representation was false,

     (3)     defendant knew the statement was false at the
             time he or she made it,

     (4)     plaintiff     justifiably        relied     upon        the
             statement,

     (5)     defendant made the statement                to     induce
             plaintiff to take some act, and

     (6)     plaintiff was injured as a result of his or
             her reliance.

Davis v. G.N. Mortg. Corp., 396 F.3d 869, 881-82 (7th Cir., 2005)

(citing Capiccioni v. Brennan Naperville, Inc., 791 N.E.2d 553, 558

(Ill.App.Ct., 2003).

     Here,    Plaintiffs    have    not   alleged      fraud    adequately   with

respect to any defendant and, therefore, Counts 1-12, 14, 16 and 17

fail. Throughout, the Complaint refers to Defendants collectively:

“IFC systematically misrepresented returns and interest that would

be earned” (Compl. ¶ 6), “IFC continued to promise investors that

their return would be forthcoming” (Compl. ¶ 8), “Investors were

told by Defendants” (Compl. ¶ 124), “[t]he IFC entities failed to

disclose” (Compl. ¶ 130), “the IFC principals would move investors

[sic] money around from banking institution to banking institution”

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(Compl. ¶ 133), “the IFC entities did little or no actual property

flipping business” (Compl. ¶ 134), “[t]he IFC principals told prior

investors”      (Compl.    ¶       137),    “the     IFC    principals     used    false

incentives”      (Compl.       ¶    137),     “the    IFC    principals      [falsely]

represented that such certificates were being issued” (Compl.

¶ 139), “the IFC principals continued to make false and fraudulent

representations” (Compl. ¶ 140), “Defendants were selling property

in Mexico that they didn’t own or have the right to sell” (Compl.

¶ 142), and the list goes on.                 The Complaint defines the terms

“IFC,”   “IFC    entities,”         “IFC    principals,”       and     “Defendants”    to

include multiple individuals and entities.                   Thus, it is impossible

to discern from the Complaint which Defendant made which fraudulent

representation.

     The only instances where the Complaint identifies the speaker

of a fraudulent statement are found in paragraphs 85-87 where

Plaintiffs      allege    that      Defendants       Sanchez     and    Bourassa     made

fraudulent statements to certain individuals, none of whom is a

plaintiff in this case.            As a result, the statements identified in

paragraphs 85-87 cannot form the basis of Plaintiffs’ fraud claim

because Plaintiffs cannot show that they relied upon statements

made to others.      See Regnery v. Wallerich, 626 F.Supp.2d 872, 875

(N.D.Ill., 2009).

     As the Seventh Circuit explained in Ackerman and Vicom, the

group    pleading    employed        by     Plaintiffs      in   the     Complaint    is


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insufficient under Rule 9(b).               Accordingly, Count 3 (common law

fraud), and Counts 1, 2, 4-12, 14, 16, and 17 which all rest upon

the     same    alleged    fraudulent       scheme,         are   dismissed     without

prejudice.

      3.    The Sufficiency of the Complaint’s Remaining Claims

                     a.    Breach of Contract (Count 13)

      The Complaint brings a breach of contract claim against all

Defendants on the grounds that the IFC entities and IFC principals

have refused and failed to pay Plaintiffs according to their

investment agreements despite Plaintiffs’ demands for payment.

Under    applicable       Illinois     law,    a    plaintiff       must    allege    the

following elements to state a claim for breach of contract:

      (1)      the existence of a valid contract between plaintiff
               and defendant,

      (2)      performance by plaintiff,

      (3)      breach by defendant, and

      (4)      damages   to  plaintiff             as   a     result       of
               defendant’s breach.

Priebe v. Autobarn, Ltd., 240 F.3d 584, 587 (7th Cir., 2001)

(citing Hickox v. Bell, 552 N.E.2d 1133, 1143 (Ill.App.Ct., 1990).

      Defendants Martin, Guidi and Rodriguez moved to dismiss the

breach of contract claim on the grounds that the Complaint fails to

allege the existence of any contract between them and Plaintiffs.

Their argument is well-founded; the Complaint does not allege that

any   of    them   are    party   to    a     contract       with   Plaintiffs       and,


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accordingly, Count 13 is dismissed without prejudice with respect

to Defendants Martin, Guidi and Rodriguez.

      Defendants Sanchez and the IFC Entities also moved to dismiss

this claim on the grounds that the Complaint fails to identify

which   Defendants      had   contracts        with    Plaintiffs,    and    which

Defendants breached those contracts.             However, the Complaint and

the   documents    attached    to   it   support      Plaintiffs’    claim     that

Defendants InvestForClosures Ventures, LLC, and InvestForClosures

Financial,    L.L.C.,     entered      into     investment     agreements      with

Plaintiffs    and,   because    the    Complaint      adequately     alleges    the

remaining elements of breach of contract with respect to these two

Defendants, Plaintiffs’ breach of contract claim against them

survives.     Plaintiffs’ breach of contract claim is dismissed

without prejudice with respect to Defendant InvestForClosures.com

LLC because neither the allegations of the Complaint nor the

documents    attached    to    it   indicate     that    InvestForClosures.com

entered into any contract with any Plaintiff.

      Plaintiffs also bring a breach of contract claim against

Defendant Sanchez who signed the investment agreements.                 However,

Sanchez signed these agreements in his capacity as Chief Executive

Officer of InvestForClosures Ventures, LLC, and InvestForClosures

Financial, L.L.C., not in his personal capacity and thus he is not

personally    liable    for   any     breach    by    those   Defendants.       See

Radioactive Energy of Illinois, LLC v. GZ Gourmet Foods & Beverage,


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Inc., No. 08-311, 2009 WL 458616, at *7 (N.D.Ill., Feb. 24, 2009)

(citing White & Brewer Trucking, Inc. v. Donley, 952 F.Supp. 1306,

1315-16 (C.D.Ill., 1997); Wottowa Ins. Agency, Inc. v. Bock, 472

N.E.2d 411, 413 (Ill., 1984)).         Accordingly, Plaintiffs’ breach of

contract claim is dismissed without prejudice with respect to

Defendant Sanchez.

        b.   Violation of the Trust Indenture Act (Count 15)

     Plaintiffs bring a claim against all Defendants for violating

the Trust Indenture Act, 15 U.S.C. § 77aaa et seq. (the “Act”), by

selling unregistered securities to Plaintiffs and by failing to

provide Plaintiffs with certain information required by the Act.

The Act specifically prohibits any person from selling unregistered

securities or selling registered securities without a prospectus

containing the requisite information.           15 U.S.C. § 77fff.

     Defendants Martin, Guidi and Rodriguez moved to dismiss this

claim on the grounds that the Complaint does not allege they sold

any securities. The Court agrees. Although the Complaint contains

the conclusory allegation that “Defendants offered to sell, sold,

and issued securities and/or indentures” it offers nothing else to

support this conclusion with respect to Defendants Martin, Guidi,

or Rodriguez.     The Complaint merely alleges that Defendant Martin

acted as a liaison between investors and the IFC entities after the

investors had purchased their securities and not that she actually

sold any securities.       The Complaint alleges that Defendant Guidi


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acted   as    General     Counsel   for   the    IFC   entities   and     that    she

interacted with investors, but it does not allege that she sold any

securities.       With respect to Defendant Rodriguez, the Complaint

alleges only that he was the staff accountant for the IFC entities

and not that he sold any securities.            Thus, the Trust Indenture Act

does not apply to Martin, Guidi, or Rodriguez and Count 15 is

dismissed without prejudice with respect to them.

      Defendant Sanchez and the IFC Entities fare differently with

respect      to   this   claim.     The   Complaint     alleges    that    Sanchez

communicated directly with, and sold securities to, potential

investors and that the IFC Entities were the issuing entities.

Thus, the Act applies to Sanchez and the IFC Entities and their

motion to dismiss is denied with respect to Count 15.

                     C.    Plaintiffs’ Motion to Strike

      After briefing on Defendants’ Motions to Dismiss concluded,

Plaintiffs filed a motion to strike a portion of the reply brief

submitted by Defendants Martin, Guidi, and Rodriguez which quoted

and characterized an excerpt of a letter from Plaintiffs’ counsel

to the Attorney Review and Disciplinary Commission.                        In that

excerpt, Plaintiffs’ counsel stated that Defendant Martin, who is

also an investor in the IFC Entities, “should have come to [him] to

discuss letting her out of the case.”              Defendants Martin, Guidi,

and   Rodriguez      characterize     this      statement   as    evidence       that

Plaintiffs are unaware of any wrongdoing by Defendant Martin, but


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named her as a defendant anyway in order to conduct unwarranted

discovery and pressure her to settle.               Plaintiffs seek to strike

this portion of the reply brief on the grounds that it is unfairly

prejudicial and concerns inadmissible settlement discussions.

      Under Federal Rule of Civil Procedure 12(f), the Court “may

strike     from    a   pleading   .    .   .     any     redundant,   immaterial,

impertinent, or scandalous matter.” Without taking any position on

the meaning of the quoted statement by Plaintiffs’ counsel, the

Court finds that the statement is immaterial to the sufficiency of

the Complaint. Accordingly, Plaintiff’ motion to strike is granted

and   that   portion     of    Defendants’       reply    brief   addressing   the

statement is stricken.

                               III.    CONCLUSION

      For the reasons stated herein, the Court rules as follows:

      1.        Defendant Martin’s Rule 12(b)(2) Motion to Dismiss for

lack of personal jurisdiction is denied.

      2.     Defendants Martin, Guidi, and Rodriguez’s Rule 12(b)(6)

Motion to Dismiss is granted and the Complaint is dismissed in its

entirety, without prejudice, with respect to Defendants Martin,

Guidi, and Rodriguez.

      3.     Defendants Sanchez and the IFC Entities’ Rule 12(b)(6)

Motion to Dismiss is granted in part and denied in part; with

respect    to     Defendants   Sanchez     and    InvestForClosures.com        LLC,

Count 15 survives but Counts 1-14, 16, and 17 are dismissed without


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prejudice; with respect to Defendants InvestForClosures Financial,

L.L.C., and InvestForClosures Ventures LLC, Counts 13 and 15

survive but Counts 1-12, 14, 16, and 17 are dismissed without

prejudice.

     4.     Plaintiffs’ Motion to Strike is granted.

IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

DATE: 9/30/2009




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